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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


RUTH & RONALD HERBEL,           )
                                )
                 Plaintiﬀs,     )
                                )
              v.                )
                                )
CITY OF MARION, KANSAS, et al., )                    Case No. 24-2224-HLT-GEB
                                )
                                )
                 Defendants.    )
                                )
_______________________________ )

           PLAINTIFFS’ EXHIBIT TO MOTION FOR RECONSIDERATION

       Plaintiﬀs ﬁled their Motion for Reconsideration and Leave to Amend Complaint on

December 13, 2024 (Dkt. 51). Unfortunately, a technical issue with the CM/ECF system prevented

Plaintiﬀs from uploading Exhibit A to the Motion for Reconsideration. Attached to this letter is the

corresponding exhibit.

Date: December 16, 2024                       Respectfully submitted,

INSTITUTE FOR JUSTICE                           GOODWIN JOHNSTON LLC

Jared McClain* (D.C. 1720062)                   /s/ Andrew J. Goodwin
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                                    Attorneys for Plaintiﬀs


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From:                Aaron Christner <AChristner@marioncoks.net>
Sent:                Thursday, August 10, 2023 3:25 PM
To:
Subject:             Become a Member of the HARCFL Team


What is the process to become a member of HARCFL? Is there a cost involved? If so, what is the cost?

Detective Aaron Christner #128
Kansas ICAC Task Force
Marion County Sheriff's Office
202 South 4th Street
Marion, KS 66861
O - 620-382-2144

F - 620-382-3441
aaron.christner@leo.gov

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                                                                  Ex. A 152
                                007094
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                                                                  Ex. A 153
                                007095
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                                                                  Ex. A 154
                                007096
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                                                                  Ex. A 155
                                007177
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                                                                  Ex. A 156
                                007178
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                                                                  Ex. A 157
                                007321
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                                                                  Ex. A 158
                                007419
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                                                                  Ex. A 159
                                007740
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                                                                  Ex. A 160
                                007743
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Messages in chronological order (times are shown in GMT +00:00)

         Me, Cody - 8/5/2023

         Me                                                                         8/5/2023, 8:02 PM
         1790 Upland Rd




                                               008108                            Ex. A 161
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Messages in chronological order (times are shown in GMT +00:00)

         Me, Cody - 8/9/2023

         Cody                                                                                                  8/9/2023, 12:30 PM
         What time are you coming in today

         Me                                                                                                    8/9/2023, 12:31 PM
         Planned on 10 but I can come in earlier if you need me to.

         Cody                                                                                                  8/9/2023, 12:32 PM
         8 would be great. 10 KBI is coming in

         Me                                                                                                    8/9/2023, 12:32 PM



         Cody                                                                                                    8/9/2023, 6:54 PM
         Everything going well?

         Me                                                                                                      8/9/2023, 6:57 PM
         Yeah. Almost done, just listened to t he council meeting video to see if anything needed added from that.

         Me                                                                                                      8/9/2023, 7:35 PM
         All done. Cleaned up the narrative and the offense reports.

         Me                                                                                                      8/9/2023, 8:38 PM
         Everything is added for Pam Maag.




                                                            008109                                          Ex. A 162
        Case 2:24-cv-02224-HLT-GEB                    Document 53           Filed 12/16/24          Page 165 of 196

Messages in chronological order (times are shown in GMT +00:00)

         Me, Cody - 8/10/2023

         Me                                                                                                     8/10/2023, 3:18 PM
         I sent the search warrants for Eric and Ruth to Aaron. Both look good. I added the property description for Ruth.




                                                             008110                                          Ex. A 163
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Messages in chronological order (times are shown in GMT +00:00)

         Me, Cody - 8/11/2023

         Me                                                                                                   8/11/2023, 12:46 PM
         Finally heard from DOR investigations. I got a name and phone number to call when I get to the office.

         Cody                                                                                                 8/11/2023, 12:56 PM
         Lol. I have been blasting them

         Me                                                                                                       8/11/2023, 7:22 PM
              re going to the office

         Me                                                                                                   8/11/2023, 10:58 PM
         https://kansasreflector.com/2023/08/11/police-stage-chilling-raid-on-marion-county-newspaper-seizing-computers-records-
         and-cellphones/


         Attachment: E8011F86-C1AC-455F-B852-EC15FF579536.pluginPayloadAttachment (20 KB)


         Attachment: 9E67AA04-979A-4CA6-97F2-15035882AA84.pluginPayloadAttachment (136 KB)

         Me                                                                                                   8/11/2023, 10:58 PM




         Attachment: Chris Mercer (142 bytes)




                                                            008111                                         Ex. A 164
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Messages in chronological order (times are shown in GMT +00:00)

         Zach Hudlin, Gideon L Cody, Gideon - 8/12/2023

         Gideon                                                                                     8/12/2023, 5:56 PM
               t delete any messages. We need them for our files. Even the hateful ones

         Zach Hudlin                                                                                8/12/2023, 5:57 PM
         Ok.




                                                            008112                                Ex. A 165
        Case 2:24-cv-02224-HLT-GEB                     Document 53            Filed 12/16/24           Page 168 of 196

Messages in chronological order (times are shown in GMT +00:00)

         Zach Hudlin, Gideon L Cody, Gideon - 8/14/2023

         Gideon                                                                                                   8/14/2023, 11:38 AM
         Call me when you wake up

         Gideon                                                                                                     8/14/2023, 1:30 PM
         Text me when you get the return completed

         Zach Hudlin                                                                                                8/14/2023, 1:31 PM
              re done. We just got to the office. Do you want us to take them to district court?

         Gideon                                                                                                     8/14/2023, 1:31 PM
         Yes. Text me when they are delivered

         Zach Hudlin                                                                                                8/14/2023, 1:31 PM



         Zach Hudlin                                                                                                8/14/2023, 8:49 PM
         Narrative is finally done. Do you want me to send it to Aaron or wait till the morning and will you look it over?




                                                              008113                                            Ex. A 166
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Messages in chronological order (times are shown in GMT +00:00)

         Zach Hudlin, Gideon L Cody, Gideon - 8/21/2023

         Zach Hudlin                                                                                    8/21/2023, 10:39 PM
         Council meeting was uneventful. A bunch of news cameras but otherwise normal. The same people that always complain
         we the only ones to complain.

         Gideon                                                                                         8/21/2023, 10:43 PM
         Lol. Wow




                                                         008114                                       Ex. A 167
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  Image: image000005.jpg (123 KB)




  Image: image000006.jpg (152 KB)

  Gideon                                                                                                     8/9/2023, 3:29 PM
  Text me. Meeting

  Kari                                                                                                       8/9/2023, 3:30 PM
  Just saw an officer pull out across the street was just making sure yall didn't need anything. I'm at the other restaurant for
  kiwanis.

  Gideon                                                                                                     8/9/2023, 3:30 PM
  No. Meeting with KBI

  Kari                                                                                                       8/9/2023, 6:05 PM
  I just had a meeting with Mr. Mayfield.

  Gideon                                                                                                     8/9/2023, 7:33 PM
  Call me back

  Kari                                                                                                       8/9/2023, 9:03 PM
  Qell how did it go with Joel


000001                                                                                                  Ex. A 168
                                                      008231
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                                                                  Ex. A 169
                                029475
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                   -

1–


2–


3–                            07




                        -

1-



2–                            07




     V                              74-2012




                                                                     Ex. A 170
                                   030376
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1-                                                                 -
12-4415

2–                                 74-2012




1–

2–

3–




                                                                    Ex. A 171
                                 030377
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On August 1, 2023 around 1500 hrs, Eric Meyer and Phyllis Zorn were requested to leave Kari’s Kitchen
restaurant in Marion, KS by the owner, Kari Newell. Mr. Meyer is the editor and publisher of the Marion
County Record newspaper. Ms. Zorn is a reporter for the newspaper.

On August 7, 2023 Marion City Administrator said that had had received a Kansas Department of
Revenue (KDOR) record for Kari Newell from Marion City Council Member Ruth Herbel. Mr. Jones said
that Ms. Herbel wanted to deny Ms. Newell’s liquor/caterers' license based on the KDOR record.

KDOR was contacted and reported that the names “Phyllis Zorn” and “Kari Newell” had accessed Ms.
Newell’s records.




On August 11, 2023 a search warrant was executed at Eric’s residence, 426 Locust, Marion, Marion
                                                                         house and was instructed to
leave them. On the table was a Kansas Driver’s License Check document with the name Kari Newell, her
date of birth and driver’s license number.                                             9:54:54 PM.

Mr. Meyer
checked on a database the person who did it provided her [Kari Newell] name when she did it”.

On August 11, 2023 a search warrant was executed at the Marion County Record, 117 S 3rd St, Marion,
Marion County, KS. Mr. Meyer is the editor and publisher of the Marion County Record. A Driver’s
License Check document with the name Kari Newell, her date of birth and driver’s license number.
located on Phyllis Zorn’s desk.                                    4/2023 3:27:41 PM.

             her rights per Miranda, Ms. Zorn stated the she



                                                   Kent Meyer (               )
                       -6107(a1)(c1)(A) in that:

1 – Eric Meyer possessed a document containing
of Kari Newell.

2 – Eric Meyer did so with the intent to misrepresent Kari Newell in order to subject her to economic
harm by saying “                           ”.

3 – This act occurred on or about August 11, 2023 in Marion County, KS.



                                                                                           conspiracy to
commit          T                             -6107(a1)(c1)(A) in that:

1 – Eric Meyer agreed with Phyllis Zorn




                                                                                           Ex. A 172
                                                   030378
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2 – Eric Meyer did so with the intent that               be

3 – Phyllis Zorn acted in furtherance

4 – This act occurred on or about August 4, 2023 in Marion County, KS.




                                   -5909 (a1)(a2A) in that:

1 – Eric Meyer stated to Kari Newell


2–


3–



                                                                             ) did commit Unlawful Acts
                                               -

1 - Eric Meyer used her computer for the purpose of downloading Kari Newell’s driving history by falsely


2—This act occurred on or about August 3,2023 in Marion County KS




                                                                                          Procurement
for Unlawful Purpose                                     (a) in that:

1 – Eric Meyer possessed Kari Newell’s driver’s

2–                                                              1(b)

3 – This act occurred on or about August 11, 2023 in Marion County, KS




                                                                                          Ex. A 173
                                                   030379
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On August 1, 2023 around 1500 hrs, Eric Meyer and Phyllis Zorn were requested to leave Kari’s Kitchen
restaurant in Marion, KS by the owner, Kari Newell. Mr. Meyer is the editor and publisher of the Marion
County Record newspaper. Ms. Zorn is a reporter for the newspaper.

On August 7, 2023 Marion City Administrator said that had had received a Kansas Department of
Revenue (KDOR) record for Kari Newell from Marion City Council Member Ruth Herbel. Mr. Jones said
that Ms. Herbel wanted to deny Ms. Newell’s liquor/caterers' license based on the KDOR record.

KDOR was contacted and reported that the names “Phyllis Zorn” and “Kari Newell” had accessed Ms.
Newell’s records. The record request were three minutes apart.




device” must be installed in a vehicle for Ms. Newell to obtain a restricted driver’s license.




On August 11, 2023 a search warrant was executed at the Marion County Record, 117 S 3rd St, Marion,
Marion County, KS. A
driver’s license number w                                                                    4/2023
3:27:41 PM.

                                                                                           and showed the


While a search warrant was being executed at Eric Meyer’s house, 426 Locust, Marion, Marion County,




                        -6107(a1)(c1)(A) in that:

1 – Phyliss Zorn


2 – Phyliss Zorn did so with the intent to deprive Kari Newell of her privacy

3 – This act occurred on or about August 04, 2023 in Marion County, KS.



                                                                                  did commit conspiracy to
                                               -6107(a1)(c1)(A) in that:




                                                                                                 Ex. A 174
                                                    030380
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1–

2 – Phyllis Zorn did so with the intent that

3–

4 – This act occurred on or about August 4, 2023 in Marion County, KS.




                                                                                did commit
of K.S.A. 21-6107(b1) in that:

1 – Phyliss Zorn used or supplied
containing

2 – Phyllis Zorn did so with the intent that

3 – This act occurred on or about August 4, 2023 in Marion County, KS.




                                                      -2012 (b) in that:

1--                                                                                          -1567, KSA
12-4415

2--                                                  74-2012(b)




                                                 -

1 - Phyllis Zorn used her computer for the purpose of downloading Kari Newell’s driving history by falsely


2—This act occurred on or about August 4,2023 in Marion County KS



                                                                                did commit Procurement
                                                            (a) in that:

1–

2–                                                                  1(b)

3 – This act occurred on or about August 04, 2023 in Marion County, KS




                                                                                             Ex. A 175
                                                     030381
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                                                                  Ex. A 176
                                030382
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                                                                  Ex. A 177
                                030572
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                                                                  Ex. A 178
                                030573
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                                                                  Ex. A 179
                                030574
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                                                                  Ex. A 180
                                030575
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                                                                  Ex. A 181
                                031315
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                                                                  Ex. A 182
                                047665
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                                                                  Ex. A 183
                                047666
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Messages in chronological order (times are shown in GMT +00:00)

         Gideon Cody, David Mayfield - 8/9/2023

         David Mayfield                                                                                           8/9/2023, 1:44 AM
         Brogan had his little girl at 545 pm.
         Tomorrow you will have 2 weeks vacation and 20 days of sick leave added to your account.
         I take the blame for this I never notified anyone. Totally forgot about it.

         Gideon Cody                                                                                              8/9/2023, 8:57 AM
         Thank you for taking care of that. I really appreciate it. KBI is working with us on the case and I meet with them tomorrow
         at 1000

         David Mayfield                                                                                           8/9/2023, 1:19 PM
         No problem it was totally my fault I forgot to tell anyone. Let me know how it goes with the KBI




                                                                                                             Ex. A 184
                                                            047925
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Messages in chronological order (times are shown in GMT +00:00)

         Gideon Cody, David Mayfield - 8/14/2023

         David Mayfield                                                                                       8/14/2023, 3:47 AM
         Listened to channel news tonight and they said when they interviewed councilor Herbel she stated that she received the
         letter about Kari Newell from the Marion county record

         Gideon Cody                                                                                          8/14/2023, 3:49 AM
         I need a copy of that. That is evidence. What channel and what time. This is important

         David Mayfield                                                                                       8/14/2023, 3:55 AM
         My wife just sent it to you did you get it?

         Gideon Cody                                                                                          8/14/2023, 3:56 AM
         No. Not yet

         David Mayfield                                                                                       8/14/2023, 3:56 AM
                                       s still going

         Gideon Cody                                                                                          8/14/2023, 3:57 AM
         Have her send me a link. This is another confession!!

         Gideon Cody                                                                                          8/14/2023, 3:57 AM
         I need this

         David Mayfield                                                                                       8/14/2023, 3:58 AM
                                                                 s the entire story

         David Mayfield                                                                                       8/14/2023, 3:58 AM
         We recorded it on her phone

         Gideon Cody                                                                                          8/14/2023, 3:59 AM
         Keep recording it. Anything with Ruth

         David Mayfield                                                                                       8/14/2023, 4:02 AM
         I recorded it on my tv




                                                                                                          Ex. A 185
                                                           047927
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                                                                  Ex. A 186
                                048030
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                                                                  Ex. A 187
                                048031
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    08/04/2023 – 5:17 PM – Ruth Herbel emails Brogan Jones Kari Newell’s KDOR DL
    information. (from Brogan Jones account)
    08/04/2023 – 6:52 PM - Gideon Cody and Marion County Sheriff Jeff Soyez received an
    email from Eric Meyer documenting he (Eric Meyer) received (Kari Newell’s) KDOR
    information and alleged possible police misconduct on how the KDOR was received, but
    also thought it was received by a spouse (Ryan Newell).
    8/05/2023 – 12:11 PM – Email from Ruth Herbel to Brogan Jones expressing her
    concerns regarding Kari Newell’s application for a liquor license.
    08/05/2023 – 8:02 PM Note: Times are shown in GMT +00:00 - Text from Officer
    Zach Hudlin (who is now the current Marion Police Chief) to Gideon Cody - narrative
    reads “1790 Upland Rd” – I cannot find a relationship to this case with this address.
    08/07/2023 – 7:33 AM – Gideon Cody forwarded the email from Eric Meyer (dated
    August 4, 2023) to Brogan Jones and wanted to talk about it. Brogan Jones then forwards
    the email to Attorney Brian Bina.
    08/07/2023 – 7:53 AM – Brogan Jones forwards Mayor David Mayfield Ruth Herbel’s
    email dated August 4, 2023, at 5:17 PM. Brogan Jones gave Mayor David Mayfield a
    heads up on what Ruth Herbel had emailed him.
    08/07/2023 – 7:59 AM – Brogan Jones forwards Gideon Cody Ruth Herbel’s email dated
    August 4, 2023, at 5:17 PM.
    08/07/2023 – Gideon Cody reads the email from Eric Meyer and contacts Kari Newell,
    and Brogan Jones. Brogan Jones was already aware of the KDOR information, said he
    received it from Ruth Herbel who received it from Pamela Maag. (Gideon Cody’s
    Incident Narrative Report)
    08/07/2023 – 9:29 AM – Text message string from Marion City Councilman Zach Collett
    to Kari Newell advising Ruth Herbel provided information regarding Kari Newell’s past
    DUI. Ruth Herbel “is trying to say that we should not issue you a liquor license due to
    this.” Zach Collett believed a DUI “does not affect ability to get a liquor license.” Zach
    Collett also stated, “I believe this is her (and Eric’s) attempt to get back at you from last
    week.”
    08/07/2023 – 11:35 AM – Ruth Herbel emails Brogan Jones expressing she is still
    concerned about issuing the liquor license and mentioned she had talked with the
    Division of Alcoholic Beverages Control as a private citizen. Ruth cites city codes and
    Kansas State Statutes. Four attachments – 01, 02, 03, 04.
    08/07/2023 – 6:41 PM - NOTE: Times are shown in GMT +00:00. – Text string
    between Gideon Cody and Kari Newell beginning on 08/07/2023 to 09/26/2023 relating
    to this case.
    08/07/2023 – 2:07 PM – Officer Zach Hudlin emails Gideon Cody a link to
    https://www.kansas.gov/ssrv-mvr-ltd/ along with an attachment (email and attachment).
    The attachment came from the KDOR pay site, titled “Verification
    of your eligibility to receive the requested records” and shows reasons A – M that can be
    check marked. I observed letter C is check marked, which reads “I work for or am acting
    on the behalf of a government agency and am requesting this information to fulfill the

                                              2

                                          049391                                   Ex. A 188
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    functions of that agency.” Note: This “Verification of your eligibility to receive the
    requested records” document was used in the 425 Locust Street and 117 S. 3rd Street
    search warrants, and I observed nothing from A – M was check marked in those two
    search warrants.
    08/07/2023 – 2:14 PM – Gideon Cody forwards Officer Zach Hudlin the email chain
    between him and Brogan Jones regarding Eric Meyer’s email relating to Kari Newell’s
    driver status.
    08/07/2023 – Approximately 2:30 PM - Officer Zach Hudlin contacts KDOR. KDOR
    recorded the full conversation in three separate recordings. (Recording 1, 2, and 3 –
    Transcripts 1, 2, and 3). During this call, Officer Zach Hudlin asked initial call taker
    Blake Benton if someone could obtain Kari’s DL information through their online site.
    Blake Benton informed if someone knew (Kari Newell’s) license number, and had her
    address, they could print any document that they (KDOR) had mailed to someone off
    their website. Officer Zach Hudlin was transferred to KDOR IT Desiree Perry. Officer
    Zach Hudlin told Desiree Perry that while he was waiting to be transferred, he obtained a
    copy of the letter (Kari Newell’s DL information), telling Desiree Perry there were boxes
    and “I'm doing it for, you know, legal reasons, and it will spit out a copy of that letter.”
    Desiree Perry responded “Right.” Officer Zach Hudlin also asked if someone else could
    have done what he did if they had all of her (Kari Newell’s) personal information and
    Desiree Perry said it would appear that way. Desiree Perry went through the process with
    Officer Zach Hudlin, and Officer Zach Hudlin admitted that he himself entered Kari
    Newell’s name where he should have entered his name (as the requester for Kari Newell’s
    DL information). Desiree Perry acknowledged that they (KDOR) were looking into this
    because they did not realize how unsecure it was.

    Officer Zach Hudlin generated a document titled “Monday KDOR Contact,” and it reads:
    “On Monday August 7, 2023 I was asked by Chief Cody to contact the Kansas
    Department of Revenue (KDOR) about how someone would be able to acquire a copy of
    a letter sent to someone about their driver’s license. At or around 1356 hours I made
    contact with someone at KDOR in their information technology department. The female I
    spoke with told me that KDOR was aware that there was a loophole or a vulnerability in
    their system that would allow someone to access another person’s private data. She said
    that she had meetings the next week concerning the loophole. I asked if they would be
    able to tell who accessed the records and she said they did. I gave her the information for
    Kari Newell. She told me that on Friday August 4, 2023 the information was accessed by
    Phyllis Zorn and three minutes later by Kari Newell.” Reviewing the transcript and
    recording of Officer Zach Hudlin’s conversation with KDOR, I did not read or hear that
    statement. I observed in Gideon Cody’s search warrant for 611 S. Freeborn Gideon Cody
    talks about an article generated by the Marion County Record dated August 9, 2023.
    Gideon Cody makes a statement “The article publication reads that a councilwoman
    received the information. It corroborates a witness statement that Ruth Herbel obtained
    protected Kansas Department of Revenue information via social networking.”


                                             3

                                         049392                                   Ex. A 189
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        o Title: "Eric,” and it is the same document he had emailed Attorney Joel Ensey
            titled “Crimes?” Gideon Cody also emailed Attorney Brian Bina the same email
            at 9:48 AM.
    08/08/2023 – 10:03 AM – SA Leeds responds to Gideon Cody informing he would
    forward his email to KBI SAC Bethanie Popejoy for review. (Email)
    08/08/2023 – 11:01 AM – Email from SAC Bethanie Popejoy to Gideon Cody.
        o Title: RE: Abuse of Power
        o Subject: Identity Theft Case
        o Narrative: Chief Cody – Please send
    08/08/2023 – 11:20 AM – Gideon Cody emails SAC Bethanie Popejoy attaching what he
    sent County Attorney Joel Ensey (on 08/08/2023 at 8:37 AM) and advised he would
    complete an offense report and send a copy as well. (Email)
    08/08/2023 – 2:02 PM – Untitled email from Officer Zach Hudlin to Gideon Cody with
    the following statute numbers: 21-5909 – Witness Intimidation; 21-6101 – Breach of
    Privacy; 21-6107 – Identity Theft; 21-6424 – Unlawful use of Communication Facility;
    and 21-6002 – Official Misconduct.
    08/08/2023 – 2:04 PM – Email from Officer Zach Hudlin to Gideon Cody with an
    attachment that looks to be narrative for either a search or arrest warrant.
    08/08/2023 – 2:31 PM – Mayor Mayfield forwards Gideon Cody Ruth Herbel’s email
    dated 08/04/2023 at 4:44:28 PM, that she had sent to Brogan Jones.
    08/08/2023 – 3:50 PM – Email from Detective Aaron Christner to Gideon Cody.
        o Title: “RE: Preservation Warrants.” Detective Aaron Christner responded to
            Gideon Cody request to obtain preservation warrants.
    08/08/2023 – 4:03 PM - Brogan Jones forwards Gideon Cody Ruth Herbel’s email dated
    August 4, 2023 at 3:55 PM.
    08/08/2023 – 4:05 PM - Brogan Jones forwards Gideon Cody Ruth Herbel’s email dated
    August 4, 2023 at 4:28 PM.
    08/08/2023 – 4:09 PM – Brogan Jones forwards Gideon Cody Ruth Herbel’s email dated
    August 4, 2023 at 5:17 PM
    08/08/2023 – 4:10 PM – Brogan Jones forwards Gideon Cody Ruth Herbel’s email dated
    August 5, 2023 at 12:11PM.
    08/08/2023 – 4:18 PM - Brogan Jones forwards Gideon Cody Ruth Herbel’s email dated
    August 4, 2023 at 4:09 PM.
    08/08/2023 – 4:20 PM – Brogan Jones forwards Gideon Cody his email to Mayor
    Mayfield dated August 4, 2023 at 4:44 PM.
    08/08/2023 – 4:21 PM - Brogan Jones forwards Gideon Cody Ruth Herbel’s email dated
    August 4, 2023 at 4:47 PM.
    08/08/2023 – 4:21 PM - Brogan Jones forwards Gideon Cody his email to Attorney Brian
    Bina dated August 4, 2023 at 4:49 PM.
    08/08/2023 – 4:22 PM – Brogan Jones forwards Gideon Cody his email to Mayor David
    Mayfield regarding Ruth Herbel’s email dated August 4, 2023 at 5:1
    7 PM.

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    08/10/2023 – 1:44 PM – Email notification to Officer Zach Hudlin that the email titled
    Additional SW for Eric Meyer’s residence did not go through to SA Todd Leeds.
    08/10/2023 – 1:45 PM – Email from Gideon Cody to Attorney Joel Ensey.
        o Title: Search Warrant and Affidavit at 425 Locust.
        o Narrative: After speaking with Jeff Soyez, the sheriff reminded me that Eric
           Meyer works from home. His computer will be at his residence. I attached a SW
           and affidavit for his residence.
        o Attachment: 425 Locust SW (Email and Attachment)
        o NOTE: There is a signature on the signature line that reads: Chief Gideon Cody,
           Affiant. This signature is not notarized. Compare this signature for “Chief
           Gideon Cody, Affiant” to the signature on the same warrant that Magistrate Judge
           Laura Viar signed on August 11, 2023, at 8:57 AM. The signatures look the same.
           (Search warrant Magistrate Judge Laura Viar signed for 425 Locust Street)
    08/10/2023 – 3:28 PM – Email from Detective Aaron Christner to MNSO Sheriff Jeff
    Soyez, MNSO Undersheriff Larry Starkey, and Gideon Cody titled “Computer forensics.”
    Narrative: “Here is a good resource for digital/computer forensics. It's in Kansas City.”
    There is an attached link.
    08/10/2023 – Statement from Marion Councilman Zach Collett that Sheriff Jeff Soyez
    informed him he (Sheriff Jeff Soyez) had a warrant for the Marion County Record. Starts
    on page 4.
    08/11/2023 – (Email string provided by SA Todd Leeds between him and Officer
    Zach Hudlin)
        o At 9:09 AM, SA Leeds received an email from Officer Zach Hudlin.
                    The Subject Line reads: “Re: Additional SW for Eric Meyer’s Residence.”
                    The email reads: “All 4 search warrants are in the judges’ hands. Should
                    be signed any minute.”
        o At 10:01 AM, Officer Zach Hudlin emails SA Leeds and Detective Aaron
           Christner, and CC’d Gideon Cody, and Chad Burr the following email:
                    The Subject Line reads: “Signed SW Marion Police Department Case 23-
                    108”
                    There is no narrative. The email contained the following three
                    attachments:
                    Signed 117 S 3rd.pdf
                    Signed 425 Locust.pdf
                    Signed 611 S Freeborn.pdf
                    (Email from KBI IT with the attachments)
        o At 10:04 AM, SA Leeds emails the following response to Officer Zach Hudlin:
                    The Subject Line reads: “RE: Additional SW for Eric Meyer’s
                    Residence”
                    The email reads: “Ya, I had the same problem. I got bounced around a
                    phone tree for about an hour yesterday.
                    This email documents: “Sent from my iPhone”
    08/10-11/2023 - Chief Hudlin provided an email string between him and SA Leeds.

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    08/15/2023 – 9:53 AM – Email from Officer Zach Hudlin to Gideon Cody. The narrative
    reads: “Ruth confession, Hudlin Video 8, 09:38,” and “Eric DOR, Hudlin Video 9,
    13:35.”
        o Hudlin Video 8 at 09:38 Ruth Herbel tells Officer Zach Hudlin “I did this, I
            passed it to Brogan Jones because of my position in the City Council because I
            thought it needed to be checked out, because we were recommending her for a
            liquor license. I was doing my job. Thank you Zach.”
        o Hudlin Video 9 at 13:35 showed Officer Zach Hudlin showing Gideon Cody that
            he found a documents titled Kansas Driver’s License Status Check for Kari
            Newell.
    08/15/2023 – 12:26 PM – Email from Gideon Cody to Detective Aaron Christner.
        o Attachment: PC Statement
    08/15/2023 – 12:59 PM – Gideon Cody emails SAC Bethanie Popejoy a statement
    regarding this case.
        o Subject: Word Document on which PC Statements will be written.
        o NOTE: This statement is similar to the above PC Statement from Gideon Cody to
            Detective Aaron Christner. (Email)
    08/15/2023 – 1:16 PM – Email from SAC Bethanie Popejoy to Gideon Cody.
        o Title: RE: Word Document on which PC Statement will be written.
        o Narrative: “Thanks. Hold this for furth instruction when we meet tomorrow,
            please.”
        o NOTE: That meeting did not take place per SAC Bethanie Popejoy.
    08/15/2023 – 3:31 PM – Email from Detective Aaron Christner to Gideon Cody.
        o Title: pc
        o Narrative: A draft for the pc for Eric is attached.
        o Attachment: MPD 23-108 PC Eric Meyer
    08/15/2023 – 5:11 PM – Email from Detective Aaron Christner to Gideon Cody.
        o Title: herbel pc
        o Narrative: “I have a pc for herbel attached. With the information I have, I am
            not sure it fits any of the crimes we discussed except the US fed code. Maybe
            there is something I am missing.”
        o Attachment: MPD 23-108 Herbel PC
    08/15/2023 – 6:52 PM – Email from Chris Mercer (Fire Investigator) to Officer Zach
    Hudlin. Subject: Deleted Items.
        o Attachment: 2023-250-CM-2 Supplement to MPD Search Warrant.
        o Narrative: “See attached for digital copy of report. You can still come by
            Wednesday, and I will have a hard copy report for you.”
    08/15/2023 – 8:12 PM – Email from Officer Zach Hudlin to Gideon Cody. Subject: Sent
    Items. Attachment: 2023-250-CM-2 Supplement to MPD Search Warrant. Officer Zach
    Hudlin forwarded Chris Mercer’s email he had received.
    08/15/2023 – 9:44 PM – Email from Attorney Joel Ensey to Sheriff Jeff Soyez and
    Gideon Cody.
        o Title: Meeting
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        o Narrative: “I would like to have a meeting at the Sheriff ’s department at 11:30 to
            discuss matters and where we are moving forward. Please let me know if you
            cannot make it.”
    08/16/2023 – 7:20 AM – Email from Chirs Mercer to Officer Zach Hudlin. Subject:
    Deleted Items. Attachment: 2023-250-CM-2 Supplement to MPD Search Warrant.
    Narrative: “DISREGARD THIS REPORT, I have made a few changes, clarifications.
    Come see me courthouse for hardcopies.”
    08/16/2023 – 8:30 AM – Brogan Jones emails Attorney Brian Bina Ruth Herbel’s email
    with Kari Newell’s KDOR information.
    08/16/2023 – 9:51 AM – Email from Attorney Joel Ensey to a Karen Selznick. Title:
    New Press Release. (Email)
    08/16/2023 – 10:29 AM – Email from Gideon Cody to SAC Bethanie Popejoy, SA Todd
    Leeds, and Cc Detective Aaron Christner.
        o Title: Rough Draft PC Affidavits
        o Attachments: MPD 23-108 Herbel PC, MPD 23-108 PC Eric Meyer, MPD 23-
            108 PC Phyllis Zorn.
    08/16/2023 – 10:34 AM – Email from Gideon Cody to Sheriff Jeff Soyez.
        o Attachments: MPD 23-108 Herbel PC, MPD 23-108 PC Eric Meyer, MPD 23-
            108 PC Phyllis Zorn.
    08/16/2023 – 12:26 PM – Media release from KBI Communications Director Melissa
    Underwood. (Email and Attachment)
    08/17/2023 – 9:35 AM – Email from Officer Zach Hudlin to Gideon Cody at Gideon
    Cody’s work and personal email addresses. Officer Zach Hudlin forwards his email
    communications with SA Todd Leeds regarding the Additional SW for Eric Meyer’s
    residence and trying to contact KDOR.
    08/17/2023 – 9:35 AM – Forwarded Email from Officer Zach Hudlin to Gideon Cody
    and Gideon Cody’s work and personal email addresses. This was Officer Zach Hudlin’s
    email to SA Todd Leeds, with Cc Gideon Cody and Chad Burr, regarding “Signed SW
    Marion Police Department Case 23-108.”
    08/17/2023 – 9:36 AM – Email from Officer Zach Hudlin to Gideon Cody at Gideon
    Cody’s work and personal email addresses. Officer Zach Hudlin forwarded the email
    communication with Gideon Cody and KDOR staff.
    08/17/2023 – 3:14 PM - Attorneys (for probably all parties) are now involved – Sheriff
    Jeff Soyez forwarded Marion County Sheriff’s Attorney Jeffrey Kuhlman the initial email
    received from Eric Meyer.
    08/17/2023 – 9:50 PM – Email from Deb Gruver to Brogan Jones – KORA request.
    08/18/2023 – 10:32 AM – Email from Officer Zach Hudlin to Gideon Cody’s personal
    email.
        o Attachments: KBI Emails, KDOR Emails, KBI Contact Narrative, Monday
            KDOR Contact Narrative
    08/20/2023 – 12:49 PM – Email from Gideon Cody to a Washington Post reporter.
        o Attachment: "KBI Emails.”

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Mail - d.mayfield@marionks.net
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         Re: [Marion, KS] Budget approval (Sent by Jeremiah Lange,
         miahlange@gmail.com)

          Wed 8/30/2023 7:36 AM
          Sent Items

          To:miahlange@gmail.com <miahlange@gmail.com>;




         Thanks Jeremiah for your kind words. Im pretty sure that the budget will pass but Ruth has stated several times already that she will not
         vote for it and Jerry usually follows her lead. If the city doesnt become proactive instead of reactive we are doomed to go backwards. The
         reason I ran for mayor was to improve our infrastructure and a lot have been done but there is so much more to be done. Im confident
         that Mike powers will do what needs to be done and I hope and pray that Ruth doesnt get re-elected or the city will have to deal with
         situations we currently deal with. She caused everything that is currently happening to our community by trying to keep Kari Newell from
         getting her liquor license because she wouldnt let the newspaper in her business. Thats my opinion on this whole thing.

         David Mayfield


                On Aug 29, 2023, at 7:36 PM, Contact form at Marion, KS <cmsmailer@civicplus.com> wrote:




                    Caution! This message was sent from outside your organization.                                            Block sender


                Hello dmayfield,

                Jeremiah Lange (miahlange@gmail.com) has sent you a message via your contact form (https://www.marionks.net/user/341/
                contact) at Marion, KS.

                If you don't want to receive such e-mails, you can change your settings at https://www.marionks.net/user/341/edit.

                Message:

                Dave,

                I attended the budget hearing today but had to leave early to pick my son up from cross country. I was impressed by
                hearing a forward facing budget presented for our community. I hope the city council will support these needed plans.

                Thank you,
                Jeremiah Lange




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